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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                       Plaintiff,
                                                 19 Civ. 3377 (LAP)
-against-
                                                        ORDER
ALAN DERSHOWITZ,

                       Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

    The Court is in receipt of the letter from counsel to non-

party Sharon Churcher requesting a pre-motion conference (dkt.

no. 199).     Mr. Dershowitz shall provide a response to the letter

no later than November 20, 2020.           Ms. Churcher shall file any

reply no later than November 23, 2020.

    SO ORDERED.

Dated:       New York, New York
             November 18, 2020

                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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